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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION
STACY MILLER and A FEW GOOD ) Cause No. CV-21-45-SPW-TJC
CLEANERS individually and on )
behalf of all others similarly situated )
                                        ) JOINT NOTICE OF SETTLEMENT
       Plaintiffs,                      )
                                        )
v.
                                        )
FIRST INTERSTATE BANK, and              )
DOES 1 through 100,                     )
                                        )
       Defendants.                      )




                           JOINT NOTICE OF SETTLEMENT
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                          JOINT NOTICE OF SETTLEMENT
      Plaintiffs Stacy Miller and A Few Good Cleaners, on the one hand, and
Defendant First Interstate Bank, on the other hand, have reached a class settlement
in this case subject to class notice and other class action settlement proceedings.
The Parties have approved and executed a formal settlement agreement on
December 8, 2021. Currently, the Parties’ are working on compiling a detailed list
of class members. Once the Parties have the class list confirmed, the parties intend
to file a motion for preliminary approval of the settlement in a related case in state
court entitled Brandy Morris and Brenda Gray v. First Interstate Bank, Case No.
DV 20-0528. Accordingly, the Parties respectfully request the Court continue to
stay this matter and any pending deadlines to allow the Parties to file their motion
for preliminary approval. If a motion for preliminary approval is not filed by
February 20, 2022, then the parties will file a joint status report with the Court.


Dated: December 23, 2021                Respectfully submitted,

                                        /s/ Stuart M. Richter
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                         CERTIFICATE OF COMPLIANCE
      Defendant First Interstate Bank hereby certifies, pursuant to Local Rule
7.1(d)(2)(E), that the foregoing is printed with a proportionately-spaced, Times
New Roman typeface of 14 points; is double spaced; Microsoft Word, and is 406
words, excluding certificate of service and certificate of compliance.


      DATED this 23rd day of December, 2021


                                       /s/ Stuart M. Richter
                                       Stuart M. Richter
                                       Attorneys for Defendant First Interstate
                                       Bank




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                             JOINT NOTICE OF SETTLEMENT
